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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                      Chapter 11

 SUGARFINA, INC., et al.,                                    Case No. 19-11973 (MFW)
                                                             (Jointly Administered)
                    Debtors.1
                                                             Re: D.I. 268

                                    NOTICE OF AUCTION RESULTS

          PLEASE TAKE NOTICE that on October 15, 2019, the United States Bankruptcy Court

for the District of Delaware entered the Order (A) Approving Bidding Procedures and Protections

in Connection with a Sale of Substantially All of Debtors’ Assets Free and Clear of Liens, Claims,

Encumbrances, and Interests; (B) Scheduling an Auction and Sale Hearing; (C) Approving the

Form and Manner of Notice Thereof; (D) Approving Procedures for the Assumption and

Assignment of Contracts and Leases; and (E) Granting Related Relief and (II)(A) Authorizing and

Approving the Sale of Substantially All the Debtors’ Assets Free and Clear of All Liens, Claims,

Interests, and Encumbrances; (B) Authorizing and Approving the Assumption and Assignment of

Certain Contracts and Leases; and (C) Granting Related Relief [D.I. 268] (the “Bid Procedures

Order”), which approved, among other things, certain bidding procedures (the “Bidding

Procedures”) in connection with the sale of all or any part of the Debtors’ assets.

          PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures, on

October 22, 2019, the Debtors conducted the Auction2 and determined that the highest and best



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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number or Canadian Revenue Agency, as applicable are (1) Sugarfina, Inc., a Delaware corporation (4356), (2)
Sugarfina International, LLC, a Delaware limited liability company (1254) and (3) Sugarfina (Canada), Ltd. (4480).
The location of the Debtors’ corporate headquarters is 1700 E. Walnut Ave., 5th Floor, El Segundo, California
90245.
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     Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Bid Procedures
Order.
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value for the Debtors’ estates and their creditors was offered by Sugarfina Acquisition Corp.

(“SAC”). The Debtors have determined SAC to be the Successful Bidder and its bid to be the

Successful Bid.

       PLEASE TAKE FURTHER NOTICE that the Successful Bid remains subject to the

execution and approval of certain definitive documentation.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures, the

Debtors have designated Candy Cube Holdings, LLC as the Back-Up Bidder and its bid to acquire

substantially all assets of the Debtors in a sale pursuant to section 363 of the Bankruptcy Code as

the Back-Up Bid.

       PLEASE TAKE FURTHER NOTICE that a hearing (the “Hearing”) to consider

approval of the results of the Debtors’ sale process and Auction is scheduled on October 24, 2019,

at 10:30 a.m. (ET) before the Honorable Mary F. Walrath at the Bankruptcy Court, 824 Market

Street, 5th Floor, Courtroom No. 4, Wilmington, Delaware 19801. The Hearing may be adjourned

from time to time without further notice to creditors or parties in interest other than by

announcement of the adjournment in open court on the date scheduled for the Hearing or on the

Court’s docket.




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         PLEASE TAKE FURTHER NOTICE that the Debtors will report on the status of the

Successful Bid and will seek approval of the Back-Up Bid at the Hearing.


 DATED: October 22, 2019                          MORRIS JAMES LLP

                                                  /s/ Brya M. Keilson
                                                  Brya M. Keilson, Esquire (DE Bar No. 4643)
                                                  Eric J. Monzo, Esquire (DE Bar No. 5214)
                                                  500 Delaware Avenue, Suite 1500
                                                  Wilmington, DE 19801
                                                  Telephone: (302) 888-6800
                                                  Facsimile: (302) 571-1750
                                                  E-mail: bkeilson@morrisjames.com
                                                  E-mail: emonzo@morrisjames.com

                                                         and

                                                  SHULMAN BASTIAN LLP
                                                  Alan J. Friedman, Esquire
                                                  Ryan O’Dea, Esquire
                                                  100 Spectrum Center Drive, Suite 600
                                                  Irvine, CA 92618
                                                  Telephone: (949) 427-1654
                                                  Facsimile: (949) 340-3000
                                                  E-mail: afriedman@shbllp.com
                                                  E-mail: rodea@shbllp.com

                                                  Counsel to the Debtors and Debtors in
                                                  Possession




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